Case 5:21-cv-00844-XR Document 1146-1 Filed 07/12/24 Page 1 of 2
Case: 22-50732 Document: 203-3 Page:1 Date Filed: o7/1p2024 E ry
JUL 12 2024
United States Court of Appeals. . cLerk, U.S. DISTRICT QQURT
FIFTH CIRCUIT “WESTERN DISTRICT O s
OFFICE OF THE CLERK BY. ir
QEPUTY CLERK
LYLE W. CAYCE TEL.|504-3 10-77
CLERK 600 S. MAESTRI PLACE,
Suite 115
NEW OREEANS. LA 70130
July 12, 2024
Mr. Philip Devlin

Western District of Texas, San Antonio
United States District Court

655 E. Cesar E. Chavez Boulevard

Suite G65

San Antonio, TX 78206
No. 22-50732 Mi Familia Vota v. Og

USDC No. 5:21-CV- 844 -X2,
USDC No. 1:21-CV-780
USDC No. 1:21-CV-786
USDC No. 5:21-CV-848
USDC No. 5:21-CV-920

Dear Mr. Devlin,

Enclosed is a copy of the judgment issued as the man
copy of the court's opinion.

Sincerely,

LYLE W. CAYCE, Clerk

Pinas We Unauge?

Hate and a

Re nes S. McDonough,
504-310-7673

Deputy

Ces
Ms. Jessica Ring Amunson
Mr. Mohammed Amir Badat
Mr. Noah Baron
Mr. Eitan Berkowitz
Mr. John C. Bonifaz
Mr. Kenneth Eugene Broughton Jr.
Mr. Thomas Paul Buser-Clancy
Mr. Adriel I. Cepeda Derieux
Mr. Ben Clements
Mr. Christopher D. Dodge
Mr. Zachary Dolling

Victor Genecin

Clerk

Case 5:21-cv-00844-XR Document 1146-1 Filed 07/12/24 pagk 2 of 2
Case: 22-50732 Document: 203-3 Page:2 Date Filed: 07/12/2024

Mr. Derek Ha

Ashley Alcantara Harris

Mr. Peter Thomas Hofer

Ms. Jennifer A. Holmes

Ms. Courtney Marie Hostetler
Ms. Savannah Kumar

Mr. Cory Liu

Mr. Eric J. R. Nichols

Mr. Uzoma Nkem Nkwonta

Ms. Elena Alejandra Rodriguez Armenta
Ms. Kathryn C. Sadasivan

Mr. J. Michael Showalter

Mr. D. Todd Smith

Mr. Samuel Spital

Mr. Karson Thompson

Mr. Jerry Vattamala

